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 1   TRACY L. WILKISON
     Acting United States Attorney
 2   DAVID M. HARRIS                                             JS-6
 3   Assistant United States Attorney
     Chief, Civil Division
 4
     CEDINA M. KIM
 5   Assistant United States Attorney
 6
     Senior Litigation Counsel, Civil Division
     JENNIFER LEE TARN, CSBN 240609
 7   Special Assistant United States Attorney
 8         Social Security Administration
           160 Spear Street, Suite 800
 9
           San Francisco, CA 94105
10         Telephone: (510) 970-4861
           Facsimile: (415) 744-0134
11
           Email: Jennifer.Tarn@ssa.gov
12   Attorneys for Defendant
13
                          UNITED STATES DISTRICT COURT
14                       CENTRAL DISTRICT OF CALIFORNIA
15                             SOUTHERN DIVISION
16
     CRISTINA COUGHLIN,                       )
17             Plaintiff,                     ) Case No.: 8:20-cv-02319-SK
18                                            )
           vs.                                ) JUDGMENT
19                                            )
20   KILOLO KIJAKAZI,                         )
     Acting Commissioner of Social            )
21
     Security,1                               )
22                                            )
23                Defendant.                  )
                                              )
24
25
     1
26
      Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9,
     2021. Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo
27   Kijakazi should be substituted, therefore, for Andrew Saul as the defendant in this
28   suit. No further action need be taken to continue this suit by reason of the last
     sentence of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g).


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 2
           The Court having approved the parties’ stipulation to remand this case
 3
     pursuant to Sentence 4 of 42 U.S.C. § 405(g) for further proceedings consistent
 4
     with that stipulation and for entry of judgment for Plaintiff, judgment is hereby
 5
     entered for Plaintiff.
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 7
 8   DATED: 9/29/2021
                               HONORABLE JUDGE STEVE KIM
 9                             UNITED STATES MAGISTRATE JUDGE
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